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                                     Statement of Foreign Entity Authority
                        filed pursuant to § 7-90-803 of the Colorado Revised Statutes (C.R.S.)

1. The entity ID number, the entity name, and the true name, if different, are

         Entity ID number                          20131119719
                                                   ______________________________________________________
                                                                         (Colorado Secretary of State ID number)

         Entity name                               Trust Services Inc.
                                                   ______________________________________________________

         True name                                 Trust Services S.A.
                                                   ______________________________________________________.
         (if different from the entity name)

2. The form of entity and the jurisdiction under the law of which the entity is formed are

         Form of entity                            Foreign Corporation
                                                   ______________________________________________________

         Jurisdiction                              Costa Rica
                                                   ______________________________________________________.

3. The principal office address of the entity’s principal office is

         Street address                            Frente Edificio ICE
                                                   ______________________________________________________
                                                                              (Street number and name)
                                                   ______________________________________________________
                                                   San Pedro
                                                   __________________________      2050
                                                                              ____ ____________________
                                                                (City)                        (State)            (ZIP/Postal Code)
                                                   San Jose
                                                   _______________________ Costa Rica
                                                                           ______________
                                                      (Province – if applicable)              (Country)

         Mailing address                           Apartado 2132-2050
                                                   ______________________________________________________
         (leave blank if same as street address)              (Street number and name or Post Office Box information)
                                                   ______________________________________________________
                                                   San Pedro
                                                   __________________________      2050
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                                                                (City)                        (State)            (ZIP/Postal Code)
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                                                      (Province – if applicable)               (Country)


4. The registered agent name and registered agent address of the entity’s registered agent are

      Name
       (if an individual)                          ____________________ ______________ ______________ _____
                                                              (Last)                      (First)                  (Middle)          (Suffix)
         or

         (if an entity)                            ABC Agents Inc.
                                                   ______________________________________________________
    (Caution: Do not provide both an individual and an entity name.)




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amended from time to time, remains the responsibility of the user of this form/cover sheet. Questions should
be addressed to the user’s legal, business or tax advisor(s).




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                                 RESOLUTION OF

                             TRUST SERVICES S.A.
                             TRUST SERVICES INC.


      San Jose, Costa Rica:

     At a meeting of the shareholders of Trust Services S.A.
(“TSSA”), duly registered as Trust Services Inc., on February 26,
2013, it is hereby RESOLVED that:

 1.    TSSA shall form Xanadu Corp. in Colorado with 100% of the shares
      owned by TSSA.

 2.    TSSA assigns all non-tangible rights, accounts receivables,
      accounts payables, assets, liabilities, and business activities
      related to TSSA’s international consulting, contract fulfillment,
      and personnel placement services to Xanadu Corp.

 3.    TSSA shall form Nicaragua Holding Co. in Colorado with 100% of
      the shares owned by TSSA.

 4. TSSA assigns all non-tangible rights, accounts receivables,
    accounts payables, assets, liabilities, and business activities
    related to TSSA’s Nicaragua travel, hospitality, and property
    management business to Nicaragua Holding Co.

 5. TSSA shall form International Wireless Inc. in Colorado with 100%
    of the shares owned by TSSA.

 6. TSSA assigns all non-tangible rights, accounts receivables,
    accounts payables, assets, liabilities, and business activities
    related to TSSA’s wireless reseller accounts to International
    Wireless Inc.

 7. TSSA shall form Networking Services Inc. in Colorado with 100% of
    the shares owned by TSSA.

 8. TSSA assigns all non-tangible rights, accounts receivables,
    accounts payables, assets, liabilities, and business activities
    related to TSSA’s network, cloud computing, data entry, and data
    processing enterprises and contracts to Networking Services Inc.

 9. TSSA shall form Forex Financial Authority Corp. in Colorado with
    100% of the shares owned by TSSA.

 10. TSSA assigns all non-tangible rights, accounts receivables,
     accounts payables, assets, liabilities, customer accounts, and
     business activities related to TSSA’s foreign exchange operations
     to Forex Financial Authority Corp.

 11. TSSA shall form /\ Inc., referred to as “tower,”          in Colorado
     with 100% of the shares owned by TSSA.
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12. TSSA assigns all non-tangible rights, accounts receivables,
    accounts payables, assets, liabilities, and business activities
    related to TSSA’s client portfolio and asset management services,
    related to non-United States clients only, to /\ Inc.

13. TSSA shall form Payment Services Corp. in Colorado with 100% of
    the shares owned by TSSA.

14. TSSA assigns all non-tangible rights, accounts receivables,
    accounts payables, assets, liabilities, and business activities
    related to TSSA’s merchant services reseller contracts related to
    non-United States clients only, to Payment Services Corp.

   En asamblea de accionistas de Trust Services S.A. (“TSSA”),
   debidamente registrada como Trust Services Inc., el 26 de febrero
   de 2013, se RESUELVE que:

1. TSSA formará Xanadu Corp. en Colorado con el 100% de las acciones
   propiedad de TSSA.

2. TSSA asigna todos los derechos no tangibles, cuentas por cobrar,
   cuentas por pagar, activos, pasivos y actividades comerciales
   relacionadas con los servicios de consultoría internacional,
   cumplimiento de contratos y colocación de personal de TSSA a
   Xanadu Corp.

3. TSSA constituirá Nicaragua Holding Co. en Colorado con el 100% de
   las acciones propiedad de TSSA.

4. TSSA asigna todos los derechos no tangibles, cuentas por cobrar,
   cuentas por pagar, activos, pasivos y actividades comerciales
   relacionadas con el negocio de viajes, hospitalidad y
   administración de propiedades de TSSA en Nicaragua a Nicaragua
   Holding Co.

5. TSSA formará International Wireless Inc. en Colorado con el 100%
   de las acciones propiedad de TSSA.

6. TSSA asigna todos los derechos no tangibles, cuentas por cobrar,
   cuentas por pagar, activos, pasivos y actividades comerciales
   relacionadas con las cuentas de revendedor inalámbrico de TSSA a
   International Wireless Inc.

7. TSSA formará Networking Services Inc. en Colorado con el 100% de
   las acciones propiedad de TSSA.

8. TSSA asigna todos los derechos no tangibles, cuentas por cobrar,
   cuentas por pagar, activos, pasivos y actividades comerciales
   relacionadas con la red de TSSA, computación en la nube, entrada
   de datos y empresas y contratos de procesamiento de datos a
   Networking Services Inc.

9. TSSA formará Forex Financial Authority Corp. en Colorado con el
   100% de las acciones propiedad de TSSA.
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                            Articles of Incorporation for a Profit Corporation
              filed pursuant to § 7-102-101 and § 7-102-102 of the Colorado Revised Statutes (C.R.S.)

1. The domestic entity name for the corporation is
                                                Xanadu Corp.
                                                ______________________________________________________.
                                                  (The name of a corporation must contain the term or abbreviation “corporation”,
                                                  “incorporated”, “company”, “limited”, “corp.”, inc.”, “co.” or “ltd.”. See §7-90-
                                                  601, C.R.S. If the corporation is a professional or special purpose corporation, other
                                                  law may apply.)

  (Caution: The use of certain terms or abbreviations are restricted by law. Read instructions for more information.)

2. The principal office address of the corporation’s initial principal office is

     Street address                             14143 Denver West Parkway
                                                ______________________________________________________
                                                                             (Street number and name)
                                                ______________________________________________________
                                                Golden
                                                __________________________      80401
                                                                           CO ____________________
                                                                           ____
                                                                (City)                       (State)           (ZIP/Postal Code)
                                                                        United States
                                                _______________________ ______________
                                                     (Province – if applicable)                (Country)


     Mailing address                            ______________________________________________________
     (leave blank if same as street address)                 (Street number and name or Post Office Box information)
                                                ______________________________________________________
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                                                                (City)                       (State)           (ZIP/Postal Code)
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                                                     (Province – if applicable)                (Country)

3. The registered agent name and registered agent address of the corporation’s initial registered agent are

      Name
       (if an individual)                       ____________________ ______________ ______________ _____
                                                             (Last)                      (First)                (Middle)           (Suffix)
         or

         (if an entity)                         Xanadu Corp.
                                                ______________________________________________________
      (Caution: Do not provide both an individual and an entity name.)

      Street address                            14143 Denver West Parkway
                                                ______________________________________________________
                                                                             (Street number and name)
                                                ______________________________________________________
                                                Golden
                                                __________________________                     CO       80401
                                                                                                        ____________________
                                                                (City)                       (State)           (ZIP/Postal Code)

      Mailing address                           ______________________________________________________
      (leave blank if same as street address)                (Street number and name or Post Office Box information)
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 AAdvantage members may call our toll free number 1­800­882­8880 for assistance, or visit www.aa.com. Also on AA.com, you can book the most popular AAdvantage
 travel awards at our Redeem Miles section www.aa.com/redeemmiles.

 AA.COM
 Visit www.aa.com/emails, which allows you to opt­in to receive American Airlines email products, offering the latest news and information, as well as exclusive offers.




https://www.aa.com/reservation/printItinerary.do?forward=itineraryReceipt&isReceipt=true&anchorLocation=%2Freservation%2FfindReservationSubmit.do+a…                                   2/2
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                                                         ­ Book Flight ­ ViewFiled  01/16/23
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 Fare Includes -

 Endorsements/Restrictions -
 FEE ON CHG/VALID ON AA/US/VOID IF SLD/PURCSD/BRTR/


 Note ­ If your ticket involves travel outside the U.S., Canada, U.S. Virgin Islands or Puerto Rico and has been reissued for any reason, the total amount above
 may not include all taxes. Please check with American Airlines Reservations at 1­800­433­7300 for the correct total.


 TERMS AND CONDITIONS
 A summary of Terms and Conditions applicable to your travel is available on ticket jackets, which are available at any American Airlines ticket office or at
 www.aa.com/conditionsofcarriage.

 You may have purchased a "Special Fare" and certain restrictions apply. Some fares are non­refundable. If the fare allows changes, a charge may be assessed for the
 change.

 If you have questions regarding our refund policy, please visit www.aa.com/refunds.

 CHECKING IN
 On day of departure, you will be required to present a government­issued photo identification at the airport. Check­in times will vary depending on your departure or
 destination city. If your flight is operated by another carrier, please check in with that carrier per their guidelines. In order to determine the time you need to check in at the
 airport, visit our Suggested Arrival Times page at www.aa.com/arrivaltimes.

 Check in for your flight using Flight Check­In (www.aa.com/checkin) at AA.com between 1 and 24 hours prior to flight time if you have a U.S. domestic e­ticket. You may
 also use the Self Service Check­In machine (www.aa.com/selfservice) at the airport on your day of departure. Use the e­ticket confirmation/record locator above to select or
 change your seat and obtain a boarding pass.

 TRAVELING INTERNATIONALLY
 If you are traveling internationally, please ensure that you have all necessary travel documents for the countries you are visiting. Visit the International Travel section at
 www.aa.com/intl for more information and helpful links.

 BAGGAGE INFORMATION
 To enhance security, FAA requirements mandate that customers are allowed one carry­on bag plus one personal item onboard. To learn more about current carry­on
 baggage allowances including checked bag policies and applicable charges, please visit www.aa.com/baggageinfo.

 HAZARDOUS ITEMS
 Many common items can be hazardous when transported by air and are prohibited. Please refer to the Restricted Items page at www.aa.com/restricteditems for more
 information.

 SPECIAL ASSISTANCE
 If you need special assistance due to a disability, or have children or pets traveling, visit the Special Assistance section www.aa.com/assistance before you travel.

 FLIGHT STATUS
 Please check your departure/arrival gate information prior to arriving at the airport. This information can be found at www.aa.com/gates.

 RESERVATIONS ASSISTANCE
 Should you need to change your reservation, please call 1­800­433­7300 and refer to the above record locator.

 AADVANTAGE INFORMATION
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https://www.aa.com/reservation/printItinerary.do?forward=itineraryReceipt&isReceipt=true&anchorLocation=%2Freservation%2FfindReservationSubmit.do+a…                                   2/2
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                          OFFICE OF THE SECRETARY OF STATE
                             OF THE STATE OF COLORADO

 CERTIFICATE OF FACT OF GOOD STANDING
I, Jena Griswold, as the Secretary of State of the State of Colorado, hereby certify that, according to the
records of this office,
                                                Xanadu Corp.

                                                    is a
                                                Corporation
formed or registered on 02/27/2013 under the law of Colorado, has complied with all applicable
requirements of this office, and is in good standing with this office. This entity has been assigned entity
identification number 20131137564 .

This certificate reflects facts established or disclosed by documents delivered to this office on paper through
10/10/2022 that have been posted, and by documents delivered to this office electronically through
10/17/2022 @ 15:14:46 .

I have affixed hereto the Great Seal of the State of Colorado and duly generated, executed, and issued this
official certificate at Denver, Colorado on 10/17/2022 @ 15:14:46 in accordance with applicable law.
This certificate is assigned Confirmation Number 14393082        .




 *********************************************End of Certificate*******************************************
 Notice: A certificate issued electronically from the Colorado Secretary of State’s website is fully and immediately valid and effective.
 However, as an option, the issuance and validity of a certificate obtained electronically may be established by visiting the Validate a
 Certificate page of the Secretary of State’s website, https://www.coloradosos.gov/biz/CertificateSearchCriteria.do entering the
 certificate’s confirmation number displayed on the certificate, and following the instructions displayed. Confirming the issuance of a certificate
 is merely optional and is not necessary to the valid and effective issuance of a certificate. For more information, visit our website,
 https://www.coloradosos.gov click “Businesses, trademarks, trade names” and select “Frequently Asked Questions.”
